UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v. CASE No. 3;19-cr- |_;)`~BW

JOHN R. NETTLETON

ORDER
The Motion for Capias filed herein by the United States of America is
hereby GRANTED, and a capias shall issue for the Defendant. The
conditions for the Defendant's release or detention shall be Set by the proper
judicial officer upon arrest.
. . . H-
DONE AND ORDERED at lacksonvllle, Florlda, thls 5 day of

January, 2019.

C\W P\, well

UN ED STATES MAGISTRATE JUDGE

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Public Integrity Section, Department of Justice
United States Marshal

 

Copies to:

